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                EXHIBIT E
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Information Technology Acceptable Use Policy - Global



Background
                                                                          Key Points:
This Policy is the “Jump Trading Group Information Technology
Policy.” It is referred to variously as the “Information Technology          Keep Jump data on Jump machines. Do not send or upload
Policy,” the “IT Policy,” the “Acceptable Use Policy,” and the               Jump data, project documents, or any other sensitive data to
“Policy.” Throughout this Policy, the use of “Jump,” “Company,” or           your personal email address or a non-approved storage
the “Firm” refer to all companies within Jump Trading Group. This            system or otherwise remove it from the Jump systems. This
includes Jump Operations, LLC and every entity under direct or               mean, for example, that you can not use any non-Jump
indirect Common Ownership or Control with Jump Operations, LLC               provided cloud application (for example for note taking,
at the relevant time.                                                        'pastebin', document collaboration). Jump provided IT
                                                                             systems for Jump data include Microsoft OneDrive and
“Common Ownership or Control” exists with respect to two entities
                                                                             OneNote, Confluence and internal network shared drives
where there is an overlap of at least 50.1 percent of the direct or
                                                                             and Jump managed servers/laptops/desktops.
indirect ownership or control of the equity or voting interests of each
                                                                             Note that on mobile devices (including iPads), there is a
entity. Examples of other companies within Jump Trading Group
                                                                             "work sandbox" that is considered Jump, and the rest of the
are Jump Trading International Ltd, Jump Trading Europe B.V., JTP
                                                                             device (even if Jump owned) is considered personal - this
Holdings Pte. Ltd, Yue Shen Investment Advisory Services
                                                                             protects both Jump and your personal privacy. Applications
(Shanghai) Co., Ltd., TowerPros LLC, Jump Crypto Holdings LLC
                                                                             must be approved by Jump and installed inside the sandbox
(formerly known as 1Hold1 LLC), Jump Capital LLC, and ECW
                                                                             to be used for Jump data. This can be confusing as the same
Wireless, LLC.
                                                                             named application may exist outside the sandbox: for
This Policy governs the access to, authorization to access and use,          example, the 'OneNote' application inside the sandbox is
and acceptable use of the Company’s “Information Technology”                 approved to use for Jump data (e.g. note taking), but any
systems, including all communications and computer systems                   note taking app outside the sandbox including OneNote
owned or operated by the Company. It applies to all Company                  signed into a non-Jump account would be out of the sandbox
employees, contractors, subcontractors, consultants, temporary               and not permitted. As a general rule, if copy and paste works
employees, and agency workers and includes all individuals                   between the stock phone browser and an application, it is
affiliated with third parties who have access to Company                     NOT inside the Jump sandbox and must not be used to store
Information Technology systems (collectively, “Personnel”).                  Jump data.
In addition to the obligations and restrictions imposed directly by          Seek advice if you are not sure: just because a IT system is
this Information Technology Policy, Personnel are also bound by              not physically blocked does not mean its permitted to use it.
complimentary obligations contained the confidentiality, non-                Access to and use of Jump Trading Group’s information
solicitation, and/or non-competition agreements they have signed             technology (“IT”) systems is provided for the sole purpose of
for the direct or indirect benefit of Jump.                                  performing work for the benefit of Jump Trading Group
                                                                             (“Jump”). Any use of Jump’s IT systems in a manner or for a
Personnel who are unsure whether something they propose to do
                                                                             purpose that is contrary to the best interests of Jump is
might breach Company policy should seek pre-clearance from
                                                                             strictly forbidden. Forbidden uses include, without limitation,
his/her supervisor or the Legal Department
                                                                             using Jump’s IT systems for the benefit of a competitor or of
Violations of the Company's Information Technology Policy alone or           a recruiting firm, to solicit or help others solicit Jump
in conjunction with the violation of any other policy, agreement, law,       employees, to prepare to compete with Jump, or to engage
or regulation may result in disciplinary action, up to and including         in any malicious or unlawful act.
immediate termination of employment or other engagement, the
                                                                             Follow Jump security advice. Do not disclose or reuse your
institution of civil proceeding, and referral to governmental
                                                                             passwords. Use 1password, set strong unique passwords
authorities for potential criminal prosecution.
                                                                             when required to, and patch your devices quickly.




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                                                                                 Only access Jump-related systems (including databases and
                                                                                 documentation stores) that you must access to fulfill your
                                                                                 Jump job responsibilities and then access them only to fulfill
                                                                                 your Jump responsibilities. You should ask your supervisor in
                                                                                 advance if you are unsure whether you are allowed to
                                                                                 access a particular database.
                                                                                 Be aware that everything you do on a Jump system may be
                                                                                 recorded.
                                                                                 Never share anything obtained from a Jump system with a
                                                                                 third party except when necessary to perform your job.
                                                                                 Sharing data with third parties when required should be via
                                                                                 approved systems, and extreme care should be taken when
                                                                                 handling personal data or sensitive Jump IP. If you are in
                                                                                 doubt, consult with the Legal Department regarding proper
                                                                                 handling procedures.
                                                                                 Do not post Jump confidential or sensitive information on
                                                                                 social media. Be careful of others connecting with you on
                                                                                 platforms such as LinkedIn — there are many imposters who
                                                                                 pretend to be Jump employees. So, if you don’t know the
                                                                                 person, you would be wise to check them out internally
                                                                                 before connecting with them on such platforms. Please
                                                                                 report any suspected imposters to the Legal Department.
                                                                                 Immaterial personal use of Jump’s IT systems in a manner
                                                                                 that is in all other respects in compliance with this Policy
                                                                                 (including that such use is not intended to or likely to harm
                                                                                 Jump or otherwise be contrary to Jump’s interests) and all
                                                                                 other written Jump policies and all applicable laws and
                                                                                 regulations is permissible. For example, it is permissible for
                                                                                 an employee to access or transfer information about a
                                                                                 personal social dinner reservation or a personal utility bill.




Expectation of Privacy
Jump entities are subject to direct and/or indirect regulation and other legal obligations in multiple jurisdictions to record, save, and/or
monitor many types of work communications. In addition, except where prohibited by law, Jump reserves the right to store and review
communications for risk management and other oversight purposes Jump. Accordingly, except where applicable law mandates otherwise,
Personnel should have no expectation of privacy when using or accessing any Company Information Technology systems, including Jump
email, chat, and voicemail. Any and all telephone conversations or transmissions, electronic mail or transmissions, or internet access or
usage by an employee by any electronic device or system may be subject to monitoring at any and all times and by any lawful means. This
includes (but is not limited to) the use of a computer, telephone, wire, radio, or electromagnetic, photoelectronic, or photo-optical systems.

Monitoring of the activities of Personnel using Company systems may be conducted by authorized Company employees or outside agents
(such as regulators) at any time with or without notice. Any information obtained from monitoring may be used for any lawful purpose
including, but not limited to, complying with regulatory obligations and the investigation of potential Personnel misconduct, including
violations of Company policy. By virtue of using Company Information Technology, Personnel understand and voluntarily consent to such
storing, monitoring, and use.

Personnel are encouraged to carry out personal activities such as personal emails, personal calls or connecting to personal websites (such
as banking or insurance) via a personal device rather than via Jump provided computer or laptop. If Jump provides Personnel a mobile
phone, it is recommended for Personnel to continue to carry a personal device. If Personnel choose to use a Jump issued mobile device for



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personal use, this is not forbidden – mobile devices support a ‘sandbox’ (that is, an electronic barrier) to keep work and personal
applications separate. In general Jump does not monitor or have access to applications outside the work sandbox – but Jump continues to
own the physical device and in certain situations may require Personnel to return a Jump owned device, including for inspection in
connection with suspected misconduct.



Company Confidential and/or Proprietary Information
Company "Confidential and/or Proprietary Information" means all information in any form that is not generally known outside of the
Company that pertains to any aspect of the Company’s business. By way of example, this includes, but, but is not limited to, software,
source code, binaries, documentation, configuration, system build information, network information, other technical information,
communications with regulatory authorities, employee lists, trading and business strategies, research methods, businesses, business plans,
counterparty information, trading team and department lists and membership, and profit and loss information for the Company or any
subdivisions thereof, including the profit and loss information for any trading team.

For purposes hereof, Company Confidential and/or Proprietary Information also includes information entrusted to the Company by any third
party where the Company has an obligation to keep such information confidential. As between the Company and its employees, all
Company Confidential and/or Proprietary Information is the property of the Company. In addition, the property of the Company includes not
just physical documents and other physical items but also all electronic documents (including without limitation emails, instant messages,
and spreadsheets) sent through or stored in the Company’s computer systems that pertain to the Company’s business. For the avoidance of
doubt, the Company’s computer systems include cloud storage used by the Company that is hosted by third parties. The definitions of
Confidential and/or Proprietary Information and what constitutes Company property herein supplement and do not replace or limit any
definition of such terms in any agreement to which a Company employee is a party.

All electronic Company Confidential and/or Proprietary Information and all other electronic Company property should be stored only on
Company approved devices to safeguard their security. The use of unauthorized cloud, removable, or portable media, including, but not
limited to, CD/DVD/Blu-ray, USB media, thumb drives, external hard drives, smartphones, memory cards, tablets, cameras (both for storage
and taking photos of Company computers or documents), are prohibited without the written permission of the Information Security
Department, the Compliance Department, or the Legal Department.

You are not permitted to keep any copies of Company property on any home or personal device, system, or account (or any device not
managed by the Company) without the written approval of the Information Security Department, the Compliance Department, or the Legal
Department.

In the event written approval is provided to share confidential or proprietary information with a non-Jump IT system the employee sharing
the information has two critical obligations:

   Working with the legal department, get the third party to review and agree to an explicit agreement that ensures that their IT systems
   adopt a reasonable level of cybersecurity and they understand that they must not retain Jump IP longer than absolutely necessary
   Then, as information is shared, ensure that the third party only retains the information for as long as strictly necessary.
   For example, if it is required and written approval is provided to share confidential Jump IP with a contractor to place on a custom device
   for some specific piece of work, the employee sharing the data must ensure the contractor or third party confirms they delete this
   information from any non-Jump IT system as soon as it is not required and they do not build up a large amount of Jump IP (emails,
   attachments, or other documents shared) on personal devices or emails/cloud accounts.



Company Technical Property
Company-owned or Company-provided “Technical Property” is (or for purposes here if is deemed to be) property of the Company.
Company Technical Property includes, but is not limited to, computers, laptops, tablets, and mobile phones. To maintain Company Technical
Property in proper working order, ensure that it runs as smoothly as possible, and to maintain its security, these requirements must be
followed concerning the use of Company Technical Property:

   All Company Technical Property must be provided by and managed by the Company Tech Services or Linux Department.
   No action should be taken to prevent IT staff from accessing, managing, or monitoring a device, including the use of a device.




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   The mere fact that an employee may have the technical ability to log into or otherwise access multiple machines, databases, or files
   does not mean that they are authorized to do so or that they are authorized to review, copy, or download the information contained
   therein. Personnel should only access equipment and information for which they are explicitly authorized in order to perform their duties.
   Personnel may not install software or take actions to circumvent, disable, or remove any security software or take any other action for
   the purposes of obscuring their activity (commonly referred to as “hiding their tracks”) . This includes, but is not limited to, the use of data
   and log wiping utilities, anti-forensics software, rootkits, or malware. It also includes stopping system services or preventing them from
   starting.
   Devices such as laptops or computers must be configured by the Company Tech Services or Linux Department. Laptops or desktops not
   configured by the Tech Services department should never be connected to the Jump office network (either physically, via internal secure
   wifi or via VPN). Connections can be made from non-Jump devices via Citrix, as discussed below.
   All mobile devices with Jump data on them (phones, tablets, etc.) must adhere to the Mobile Device Security Policy.
   Company Technical Property must be always secured and looked after. These devices can be susceptible to theft and leaving them
   unattended and unsecured in public is not permitted. Any damage or loss must be immediately reported to the Tech Services and
   Security teams.
   Personnel may not download or install personal software (screen savers, games, sound files, etc.) on Company Technical Property
   without proper authorization.



Company Networks and Communication Systems Acceptable Use Policy
“Communication Systems” include, but are not limited to, computers, telephones, internet access, email, instant messaging, texting,
voicemail, and mobile devices.

“Company Networks,” include wired and wireless networks provided by the Company, excluding the specific wireless networks provided in
offices for personal devices and guests.

Company Networks and Communication Systems are intended to be used to access job-related information and for the performance of job-
related functions. Use of Company Networks and Communication Systems for personal use is discouraged.

Users should be aware that when access is accomplished using internet addresses and domain names registered to the Company, they are
perceived by others to represent the Company. Users may not use the Company Networks for any purpose that would reflect negatively
upon Company or its personnel. Unlawful use of Company Networks is prohibited and may expose the employee and the Company to
significant legal or reputational liabilities and may result in substantial disciplinary action including the termination of employment.

Below is additional governance regarding the use of the Communication Systems and Company Networks:

   Incidental and occasional personal use of Company mobile phones, computers, email, text messaging and voice mail systems is
   permitted, but should not interfere or conflict with business use and is not recommended.
   Personnel are expected to act in a professional manner and always use language that reflects positively on themselves and the
   Company.
   All communications that are required by law or regulation to be recorded and retained must take place via means that are approved by
   Jump Information Security and Compliance. Approved records-retaining methods include services such as Slack or Company email. You
   are reminded that all Jump-related communications (including those via text or instant messaging system) are subject to Company
   inspection.
   Other texting and instant messaging systems may be used only when mandatory retention requirements do not exist. In addition, the use
   of any such other texting and instant messaging systems is also subject to (1) the guidance of Jump’s Information Security and
   Compliance departments, and (2) the exercise of good judgment in terms of what information is shared via insecure texting and
   messaging systems. Although the Compliance department does not intend to review and pre-approve each individual communication
   (except where required to do so by law or regulation), you are encouraged to reach out to the department prior to the use of any other
   texting or instant messaging system for a new business subject or if the there is a potential material change in the subject matter or
   personnel with whom you are already communicating on such systems such that the continued use of such system(s) may no longer be
   appropriate.




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The following activities are examples of prohibited use of Company's Communication Systems and Company Networks. This list is not
exhaustive:



Personal Use

   Excessive personal use of Company Communication Systems.
   Participating in external chats or newsgroups for non-business-related reasons.
   Engaging in personal commercial activities, such as offering services or merchandise for sale, operating a business, usurping business
   opportunities, soliciting money for personal gain, or searching for employment outside of the Company.
   Participating in online gambling unrelated to business initiatives.
   Playing online computer or video games.
   External or non-Company email accounts must not be used for business-related matters absent express consent of Compliance.



Activity that is Unlawful and/or a Breach of Duty to Jump

   The use of Communications Systems for any unlawful purpose.
   Exporting software, technical information, encryption software or technology, in violation of Company IT policies, other agreements with
   the Company, or export control laws.
   Except where necessary for purposes of Company business, sending Confidential and/or Proprietary Information outside of Jump (such
   as by forwarding an email, uploading a file to a cloud storage provider, or accessing Company data for purposes of copying it and
   sending it out of Jump).
   The use of Communications Systems directly or indirectly to solicit (including to aid anyone else to solicit) any Company employee to
   leave the Company or join any other company or venture.
   The use of Communications Systems directly or indirectly to aid a competitor or potential competitor, including to compete or to prepare
   to compete with the Company.
   The use of Communications Systems in breach of the employee’s fiduciary or other duties to the Company.
   The use of Communications Systems with the intention to cause harm to the Company.
   Dissemination, distribution, or reproduction of copyrighted materials (including articles and software) in violation of copyright laws.
   Any transmission (whether inbound or outbound), or any other use of Communication Systems that contains sexually-explicit images,
   messages or cartoons, ethnic slurs, racial epithets, or anything that may be construed as harassment or offensive to others based on
   actual or perceived race, national origin, sex, sexual orientation, age, disability, religious or political beliefs, marital status or any other
   protected characteristics at any time or is otherwise disruptive, offensive to others, or harmful to morale.



Other Policy Violations

   Impersonating another person, Company employee, or otherwise.
   Participating or engaging in any security breaching type activity to disable, disrupt, harm, or circumvent access controls of any computer
   system.



File Sharing Policy

Storing and transmitting the Company’s Confidential and/or Proprietary Information Property should only occur both where the material to be
shared is approved by an appropriate Company Department (Information Security, Compliance, Legal) and when using a service specifically
approved by the Company for this use. Depending on the sensitivity of the data, it may be necessary to password protect or otherwise
encrypt the files, such as, for example, when sharing sensitive personal information in connection with KYC/AML checks.

Vendors and third parties may send files using other services. However, personnel must work with the Information Security Department to
make a reasonable effort to use a Company-approved file sharing service whenever possible.

When providing confidential information to any third party, an executed Non-Disclosure or Confidentiality Agreement (NDA) is generally
required. This agreement can be obtained from the Legal Department, who also hold a list of all agreements currently in force. Please



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consult with the Legal Department in advance of sharing confidential information when in doubt whether an NDA is required or is in place.



Social Media Policy

“Social Media” refers to the use of media for social interaction. Examples of Social Media include, but are not limited to, blogs, internet
forums, social networks (such as Facebook or LinkedIn), wikis, podcasts, photographs and video, social bookmarking, rating, tweeting, and
virtual worlds.

Individuals using Social Media are accountable for what they write and post. Except where prohibited by law, the Company reserves the
right to monitor by any means, publicly available and searchable comments, discussions, and posts about the Company, its personnel, and
the industry, including competitors, posted on the internet. The Company reserves the right to request that certain subjects be avoided and
that certain posts be removed where they contain Confidential and/or Proprietary Information or are otherwise harmful to the Company.

This policy is intended to minimize risk to the Company and its Personnel. If you are uncertain about whether to post or discuss something
on Social Media, please direct questions to your manager or the Human Resources Department. Use common sense and good judgment —
your statements could have an impact on your reputation as well as the Company's reputation. Remember that posted or published
comments may be public information for a long time and could later be used in ways you never intended.

The following are guidelines for using Social Media and are not intended to be exhaustive:

   Always adhere to Company's Handbook, Policies, Compliance Manuals, and any other documentation that governs personal and
   professional activity at Company.
   NEVER disclose any confidential, proprietary, or sensitive information regarding Company or any regulatory, legal, or financial matter.
   It is permissible to post your job title and to disclose that you work for Company; however, Trading team members should not post the
   name of the trading team of which they are or were a member. In addition, you should not imply that you speak for the Company unless
   you are expressly authorized by the Company to do so.
   Do not disclose any information regarding Company that is not already in the public domain as it exists on Company's public websites,
   the Company’s public filings, or in Company-approved news articles.
   Photographs or videos of the office should never be taken and posted on any internet site.
   Do not post or make comments that may be considered defamatory, obscene, libelous, threatening, harassing, or embarrassing to the
   Company, other personnel, counterparties, regulators, customers, vendors, contractors, suppliers, or competitors.
   Be aware that Social Media postings may generate press and media attention. If members of the media, including journalists or
   bloggers, contact you about the Company or any statements you made about Company, refer them to the Company’s media contact or
   to the Legal Department.
   Do not use the Company logo unless approved by the Company.



Source Code Policy
"Source Code” is any code developed during the course of employment at the Company.



Source Code Ownership

As a general principle all source code developed by Company personnel is the property of the Company. Exceptions for “personal projects”
may apply in certain situations in certain jurisdictions. Personnel are encouraged to seek consult with the Legal Department if they believe
these exceptions apply.


Source Code Storage

The Company requires all source code to be stored, maintained, and managed in a Company-supported and approved repository
— currently GitHub Enterprise.

Personnel are not authorized to set up their own repositories outside of the official repositories managed by the Company.

All source code developed by personnel, including all code that forms part of any application used for trading must:



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   Be checked into the Company managed repository.
   Comply with all review or testing requirements in applicable Compliance software development policies before code is placed in
   production or before any trades are placed using the compiled code.



Source Code Access

The right to access to source code is limited. Personnel should not access source code unless it is required for their role (regardless of
whether they have the ability to access it). Personnel are not permitted to circumvent any controls to access source code.



Open-Source Software Policy

Personnel must take care when using open-source software. Some open-source licenses are fine to use in Jump software. Others have
obligations or other reasons that make them not suitable for use in Jump software. In general, Personnel should contact the Legal
Department before using new open-source code. For more information and a list of reviewed open-source projects, see Guidance on Open
Source Software Licenses on the Legal Department’s Confluence page.



Open-Source Collaboration Policy

The ability to contribute to open-source projects is approved on a case-by-case basis. All contributions will be done through a dedicated
server allocated for this purpose. Personnel must receive approval from their supervisor, the Information Security Department, and the Legal
Department via the Company internal request system before contributing to an open-source project. A detailed process can be located in the
Confluence page Open Source Project Collaboration Policy.



Physical Access to Information Technology
The Company seeks to maintain all Company Information Technology in a physically secure manner. Prior to physically accessing Company
Information Technology, all personnel must use a uniquely assigned electronic badge to access all Company locations. This badge is
exclusive to the assigned individual and must not be shared with anyone. Proper authorization must be granted to access restricted areas
such as computer rooms, datacenters, and storage facilities.

Visitors accessing the offices must present a valid form of identification and check-in with the security desk prior to accessing Company. In
addition, all visitors must sign a visitor log when they enter Company suites and agree not to disclose any Confidential Information acquired
during their visit to the Company's premises. Visitors should not be granted physical access to Company’s Information Technology unless
supervised by a Company employee.



Clean Desk Policy
When desks or workspaces are left unattended or unoccupied throughout the day or when they are left at the end of the day, any sensitive
or confidential materials should be placed in a secure location, such as a locking file cabinet. Materials of this nature should never be left out
unattended on a desk or other publicly accessible location. Sensitive materials that are no longer needed and have no regulatory retention
requirements should be disposed of in the secure shredder bins made in available in every Company location. Sensitive materials should
not be disposed of in normal garbage or recycling bins.



Password and Account ID Policy
Passwords and IDs are used to prevent unauthorized access to Company Information Technology and protect user accounts from misuse.
Passwords should be strong, unique, and stored in the firm's password vault (1Password). Individual IDs and passwords must be kept
confidential and not shared.

Group IDs, shared IDs, application IDs, administrative IDs, and any other non-unique IDs are only to be used when absolutely necessary for
bzusiness functions and no other option exists. Where possible, personnel are required to log into systems with their individual IDs and
passwords and switch user to the necessary non-unique ID.




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Except when specifically authorized or following proper process, personnel are not permitted to change privileges, gain additional privileges,
or revoke/deny other individual’s access.

All individuals accessing Company Information Technology are responsible for taking appropriate steps to select and secure their
passwords.

General guidelines for the treatment and selection of passwords below:

   Passwords should be stored on the official Company password repository, located at https://jumptrading.1password.com
   Passwords should not be emailed, sent over instant message, or shared except via 1Password and for an authorized business function.
   No other password manager should be used.
   Do NOT store or write down passwords and leave them in the open.
   Do NOT use your browser’s “remember password” feature for any Company Information Technology access. Use the 1Password
   browser extension.
   Do NOT reuse passwords for Company Information Technology that you use for personal systems or external internet sites.
   Passwords should be constructed using modern complexity requirements. These are documented on Confluence page "1Password:
   User Pages" under the section “How to choose a strong password.” Alternatively, the 1Password password generator can also be used
   to automatically create a strong password.



Remote Access Policy
“Remote Access” refers to the access of any Company Information Technology from a non-office device.

Remote Access is limited to authorized Personnel only. Remote Access is only permitted using approved supported Remote Access
methods. Configuring any system in any way to circumvent Company's supported Remote Access systems is prohibited.

The Company has various methods by which employees may utilize Remote Access.



Citrix

Citrix is a web-based remote access solution that is designed to be used from any remote Windows or Mac machine, including employee-
owned personal machines. Citrix provides a layer of protection between the personal machine and the Company network by leveraging the
Citrix receiver to allow a person to use specific published applications to interact with the Company network. Company data is never
downloaded to the remote machine.

Access to Citrix is achieved via a web portal and two-factor authentication comprised of a username/password combined with a one-time
password or hardware token.

Citrix is the only solution for an employee who wants to use a personal device for both personal use as well as accessing the Company
network. Personnel should ensure that the device they are using is their own device, a family device, or otherwise trusted and known
device. The device must be up to date on patches and not running any software that may be a security risk. It is not acceptable, for
example, to connect from an Internet Café type PC or to leave a Citrix session open on a shared computer.

Individuals who use Citrix agree not to violate the End User Agreement, viewable here.



VPN software (e.g. WireGuard)

VPN software such as WireGuard (which may be supplemented or replaced from time to time) allow a Jump computer direct access to the
Company network, giving the user the same access that they would have in any of the Company’s offices. Using these solutions, a user can
copy Company data to his/her local Jump laptop in order to work offline, satisfying the requirement that Company data may only be stored
on Company-owned or Company-approved devices.

Personnel using Company-provided devices via VPN must take no action to disconnect the VPN connection. They must also use the device
at least monthly to apply the latest security patches. It is strictly prohibited for the user to make any local network connections, for example
direct connections to a local NAS or router or attempt to setup software for sharing keyboards or data with personal devices.




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Mobile Device Safety

All Personnel are expected to follow applicable federal, state, and local laws or regulations regarding the use of electronic devices at all
times. Personnel whose job responsibilities include driving are expected to refrain from using Mobile Devices while driving and should
comply with all applicable laws regarding texting by vehicle drivers. Personnel who commit traffic violations or otherwise cause accidents
resulting from the use of Mobile Devices while driving will be solely responsible for all liabilities resulting from such actions.



Lost, Stolen, Hacked, or Damaged Mobile Devices

It is important that all mobile devices are stored securely when not in a Jump office. Personnel are expected to protect Mobile Devices from
loss, damage, or theft. Personnel must notify the Tech Services Department immediately if a Mobile Device is lost, stolen, hacked, or
damaged.

To secure sensitive data, the required Company management software, which allows for a “remote wipe” of data, must be installed on all
Mobile Devices used for work purposes. Wiping Company data may affect other applications or data on an affected Mobile Device. The
Company is not responsible for loss or damage of personal applications or data resulting from a “remote wipe” and personnel are advised to
keep their personal data backed-up.



Information Security Travel Policy
Occasionally Company equipment and personnel will need to travel to a location that is deemed high risk, where the likelihood of the loss of
data and the impact from loss of data are both classified as high.

As of January 2021, high risk locations include:

   Mainland China (including Shanghai)
   Hong Kong

   Taiwan
   India
   Russia

Additional countries that are not commonly visited by Jump employees on Company business may also be considered high risk countries.

During travel to such locations, there is the potential for loss of data and/or equipment resulting in significant impact to the Company. This
policy defines employee responsibilities, pertaining to information systems, while traveling to and from an area that is deemed high risk to
mitigate and lessen the impact if there is an incident resulting in loss of data.

If you are traveling to a country subject to a Department of State Travel Warning ( Travel Advisories ), contact Tech Services or Information
Security, for the country specific appropriate security measures.



Assumptions When Traveling

No device can be protected against all forms of system and information compromise, especially when employees travel to countries that are
deemed high risk. Therefore, it must be recognized that the possibility that any device taken to a high-risk country can be compromised in
some, potentially undetectable way. The only truly secure option is to refrain from using digital devices when traveling.

Information of particular interest to someone intent on compromising your devices not only includes business data but also the traveler’s ID
and password that could be used to directly access Company systems and information resources. When a device is compromised, the
attacker may install software on the device that could compromise other systems and data on the Company network when the traveler
reconnects his or her device to our network upon return, unless measures are taken to completely restore the device to its original state
before it is connected to the Company network.



Travelling Expectations & Jump Advice

The Company forbids Personnel from using a Company laptop containing Company data while residing in a high-risk country. To achieve
this, Company offices and travelers should use Citrix. The Company provides loaner devices to travelers, on which they can run Citrix.


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Loaner devices may be requested from Tech Services. Regular travelers or individuals based in a high-risk countries can ask Tech Services
to issue one of these devices on a long-term basis.

For employees spending more than a few weeks in a high-risk country, using a loaner device is a mandatory requirement, and no
exceptions are permitted. If you are relocating to a high-risk country, please return your Jump laptop into Tech Services before leaving. For
employees briefly transiting a high-risk country on travel, if there are business reasons to require a Jump laptop, an exception can be
granted with the permission of both your supervisor and the head of Tech Services.

In most countries there is no expectation of privacy in internet cafes, hotels, offices, or public places. Hotel business centers and phone
networks may be monitored. In some countries, hotel rooms can be searched. If a customs official demands to examine your device, or if
your hotel room is searched while the device is in the room and you are not, you should assume the device has been compromised and
report the incident to Information Security.



Best Practices while Travelling
   Before you go, if you are taking any devices with data on them, remove that data from your device. For example, uninstall your Gmail
   app on a personal phone.
   Shutdown (power off, not “sleep”) any phone or laptop before crossing a border. It is significantly harder for somebody without your PIN
   and with physical access (e.g. a border agent) to access data on your device when powered off.
   Turn your device’s Bluetooth and Wifi off when not in use.
   Limit the use of public WiFi. If you need to use public WiFi, avoid providing credentials to sites that require username and passwords, as
   this information may be intercepted.
   Do not use thumb drives given to you — they may be compromised. Do not use your own thumb drive in a foreign computer for the
   same reason. If you’re required to do it anyway, please notify Information Security as soon as possible.
   Do not leave your electronic devices unattended.
   Be aware of who is looking at your screens, especially in public.
   Do not plug your device via USB into a public kiosk or charging stations as there might be a hostile computer on the other end.
   If your device or information is lost or stolen, report it immediately to Tech Services and Information Security. This should be reported
   even if the device is later recovered.



Reporting Violations

The Company requests and strongly urges employees to report any violations or perceived violations of the Information Technology Policy
to managers, the Human Resources Department, the Information Security Department or the Legal Department. The Company will
investigate and respond to all reported violations of any Company policy.



Information Security Training Policy
In accordance with various governmental regulations and NIST Cybersecurity Framework guidelines, information security awareness
training shall be conducted on a regular basis. This training will include:

   First day — New Hire Orientation
   Within 2 months of starting — JumpStart training, which includes security awareness training
   Quarterly — Anti-Phishing training (typically a simulated phishing attack)
   Annual — Company-wide cybersecurity awareness training combined with annual compliance training

Training will include topics such as:

   Recognizing risks such as phishing emails and malware
   Password Protection

   Software/Hardware Vulnerabilities
   Mobile and Physical Security



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